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UNITED STATES DISTRICT COURT

© DISTRICT OF CONNECTICUT
ABIMAEL PEREZ, ET AL.,
PLAINTIFFS CIVIL ACTION 3:15CV00642-CSH
V.
GOODFELLAS CAFE LLC, ET AL.,
DEFENDANTS

NOVEMBER 27, 2015

REPLY TO OPPOSITION TO MOTION TO DISMISS BY GOODFELLAS CAFE, LLC,
FRANCESCO AURIOSO AND ANDREA COPPOLA

L. FAIR LABOR STANDARDS ACT

The Plaintiffs’ FLSA clairns against Defendant Aurioso remain deficient under the
“economic reality” test because their own allegations demonstrate that Aurioso did not
“possess] ] the power to control the workers in question.” (Emphasis added.) Herman
v. RSR Security Services Ltd., 172 F.3d, 139 (2d Cir. 1999). While Plaintiffs maintain
that the allegations as to Defendant Aurioso fit the economic reality test, these
allegations relate to employees in general, but not these plaintiffs, the workers in
question. Vvhile plaintiffs claim their allegations demonstrate that Aurioso “nad the
power to hire and fire the Workers,” Plaintiffs’ Memorandum of Law In Opposition to
Defendant To The Motion To Dismiss Of Francesco Aurioso, Andrea Coppola, And

Goodfellas Café, LLC, pp. 6-7 (Doc. 49}, the allegations of the Amended Complaint are

 

as to Aurioso’s power in this regard to employees generally, not specifically to the

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“workers in question.” Amended Compiaint J 13 (‘Defendant Aurioso managed
employees and was responsible for hiring, firing, and paying employees”). Aurioso is
specifically alleged to have supervised workers in the “front of the house,” Amended
Complaint § 17, which was not a group that included the plaintiffs. Amended Complaint
{| 16 (“lannaccone is also the head chef of Goodfellas Restaurant and supervises
workers in the back of the house, including bussers and those working in the kitchen, a
group that includes Plaintiffs”). There is likewise no claim that Defendant Aurioso hired
or fired these workers in question, although he is alleged to have the general power to
do so. Amended Complaint ] 13. For these reasons, the FLSA claim against him
must be dismissed.
Hl. CONNECTICUT MINIMUM WAGE ACT

The general allegations that Defendant Aurioso could hire, fire and supervise
employees, are also insufficient to support a claim that he is an employer under the
CMWA. Although citing the “broadly construed” definition of employer adopted by
Connecticut courts, the plaintiffs’ reliance on Defendant Aurioso’s general powers does
not satisfy this standard. As recognized by the plaintiffs, the term employer as used in §
31-72 “encompasses an individual who possess the ultimate authority and contro! within

a corporate employer to set the hours of employment and pay wages and therefore is

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o the specific or exclusive cause of improperly failing to do so.” Butler v. Hartford
Technical Institute, Inc., 243 Conn. 454 (1997). The plaintiffs’ allegations fall far short of
this standard as it relates to Defendant Aurioso. While Plaintiffs rely on the standard of
Butler, supra, and argue that their allegations are sufficient, they cite no cases involving
the general allegations as made against Aurioso as being sufficient for a cause of action
under the CMWA, and have not made similar allegations as were found to support a

violation of the CMWA in Butier:

The trial court expressly found Skidmore performed only work which
the defendant and Susan Meyers requested. Skidmore was expected to
work overtime and did so. The trial court further found that the defendant
was the individual in control of, and solely responsible for, all decisions with
regard to wages, and concluded that the defendant ‘was specifically the
cause for the withholding of, and the failure and refusal to pay the overtime
wages’ to Skidmore.

* * *

Viewed in its entirety, the evidence demonstrates that the trial court’s
findings that only the defendant could approve wage payments and his
refusal to pay overtime wages was the cause of the failure to compensate
Skidmore properly were not clearly erroneous.

(Emphasis in original.) Butler, supra, 243 Conn. at 464-65.
As with the FLSA, more is required to establish a cause of action under the
CMWUW/A than general allegations of the ability to hire, fire and supervise, which are

directly contradicted by the specific allegations as to who hired, fired and supervised

these plaintiffs.

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il. FORCED LABOR PURSUANT TO TVPRA
The Defendants incorporate by reference Defendant lannaccone’s argument in

his Reply To Opposition To Defendant lannacone’s Motion To Dismiss, pp. 5-7 (Doc.
59). Defendant’s Aurioso and Coppola further dispute that the allegations are sufficient
to demonstrate that they knew or should have known of the alleged force labor.

Plaintiffs claim that they allege that Defendant Aurioso “worked in the kitchen
environment with Defendant lannaccone regularly” and cite paragraph 13 of the
Amended Complaint for this proposition. Plaintiffs Mem. In Opposition, p. 13 (Doc. 49).
Such an allegation is not contained in paragraph 13. As previously detailed, paragraph
13 alleges that Aurioso “managed employees and was responsible for hiring, firing and
paying employees....” Moreover, plaintiffs have alleged that Defendant Aurioso
supervised the workers in the front of the house, while Defendant lannaccone was in
the “back of the house.” Amended Complaint 9] 16-17. None of these allegations can
be fairly construed as Defendant Aurioso working regularly in the kitchen. Plaintiffs
further allege that Defendant Aurioso “witnessed Defendant lannacone’s use of racial
epithets and threats of deportation against the workers.” Id. at 14. Plaintiffs cite
paragraphs 17-18, and 127 of the Amended Complaint for this allegation, allhough no

such ailegation is contained in these. Similarly, plaintiffs claim they allege that

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Defendant Coppola knew or should have known that the restaurant utilized forced labor,
but likewise fails to actually make these allegations.
iV. RACKETERRING INFLUENCED CORRUPT ORGANIZATIONS ACT (RICO)
The Defendants incorporate by reference Defendant lannaccone’s argument in
his Reply To Opposition To Defendant lannacone’s Motion To Dismiss, pp. 7-10 (Doc.
59).
V. 42 U.S.C. §1981
These Defendants moved to dismiss the claims under 42 U.S.C. § 1981 “[t]o the
extent the Fifth Claim for Relief based upon race and national origin discrimination is
directed towards Aurioso and Coppola, it should be dismissed because there are no
specific allegations relating to conduct by these two defendants which could be
construed as discrimination based upon race or national origin.” Memorandum of Law
In Support of Motion To Dismiss By Goodfellas Café, LLC, Francesco Aurioso And
Andrea Coppola, pp. 13-14 (Doc. 44). The Plaintiffs have responded that they have in
fact directed allegations of discrimination against these Defendants and additionally that
they were “joint employers of Workers Perez, M. Morales, Ceron, and Gonzalez (the
“Section 1981 Plaintiffs”) under 42 U.S.C. § 1981. Plaintiff's Mem. In Opposition, pp. 17

and 25 (Doc. 49).

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Plaintiff's claim that sufficient allegations are made against Aurioso and Coppola
as a basis for relief under 42 U.S.C. § 1981 are undermined by their allegations in their
Fifth Claim For Relief which are all directed towards Defendant lannaccone including
the only allegation specifically linking a defendants conduct with the hostile work
environment: “[t]he Section 1981 Plaintiffs’ work environment was hostile an abusive as
a result of Defendant lannaccone’s conduct.” (Emphasis added.) Amended
Complaint {jf 153 (Doc. 26). While the plaintiffs did generally allege that “Defendants
created a hostile and hateful working environment, berating and belittling their workers
with racist, xenophobic, and homophobic slurs...” Id. at p. 1, there are no specific
allegations as to Aurioso and Coppola in the Fifth Claim For Relief.

In an effort to save this claim as to these Defendants, the plaintiffs have claimed
“joint employment” as a basis of liability. However, plaintiffs have not and cannot cite to
where this allegation is contained in the Amended Complaint as to this count. While
plaintiffs alleged joint employment in the context of the FLSA claim, Id. at | 102 (“At all
relevant times, Defendants Goodfellas Café LLC, AC702 LLC, Gennaro lannaccone,
Andrea Coppola, and Francesco Aurioso were joint and/or integrated employers within
the meaning of 29 U.S.C. § 203(d) and 29 C.F.R. § 791.2”) and under the CMWA claim,

Amended Complaint J 111 (“At all relevant times, Defendants Goodfellas Café LLC,

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> AC702 LLC, Gennaro lannaccone, Andrea Coppola, and Francesco Aurioso were
employers within the meaning of Conn. Gen. Stat. §§ 31-58(e) and 31-71a(1)’), the
same allegation is not made as it relates to the claim for relief under 42 U.S.C. § 1981.

THE DEFENDANTS, GOODFELLA’S CAFE, LLC,
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CERTIFICATION
This is to certify that the foregoing was e-filed by defendant and served by
regular mail on anyone unable to accept electronic filing, on November 27, 2015.
Notice of this e-filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated in the Notice of Electronic filing. Parties may access this filing through the
Court’s CM/ECF System.

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